     Case 1:16-cr-00069-LJO-SKO Document 809 Filed 07/17/19 Page 1 of 1



1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ANN C. McCLINTOCK, Bar #141313
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Movant-Defendant
     MARVIN LARRY
6
7
8                          IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    ) NO. 1:16-cr-0069 LJO
12                                                )
                   Plaintiff,                     ) ORDER GRANTING UNOPPOSED
13                                                ) REQUEST FOR STAY
        v.                                        )
14
                                                  )
15   MARVIN LARRY,                                )
                                                  )
16                 Defendant-Movant.              )
17                                                )

18
             Good cause appearing, Defendant LARRY’s unopposed request to stay the matter
19
20   is granted. The matter is stayed until August 31, 2019. On or before August 31, 2019,

21   Defendant shall either move to lift the stay and seek direct relief from this Court, move to
22
     extend the stay and provide good cause for doing so, or file any other appropriate motion.
23
24
     IT IS SO ORDERED.
25
        Dated:    July 16, 2019                        /s/ Lawrence J. O’Neill _____
26
                                               UNITED STATES CHIEF DISTRICT JUDGE
27
28
